    Case 19-43023-btf13          Doc 51 Filed 07/29/21 Entered 07/29/21 01:02:01                         Desc ODSM
                                      - 13 Trustee motion Page 1 of 1
500 (2/19)
                                   UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF MISSOURI
                                                                                                 FILED
                                                                                                   7/29/21
                                                                                             Clerk, U.S. Bankruptcy Court
                                                                                             Western District of Missouri

In     Natrelle Voncile Merrill−BELOW MED−
Re:    Debtor                                                   Case No.: 19−43023−btf13
                                                                Chapter: 13

                                              ORDER OF DISMISSAL
                                              WITHOUT PREJUDICE


     On the motion of the Trustee and for good cause shown, it is hereby ORDERED that this case be dismissed
without prejudice.

       If the debtor owed filing fees at the time of dismissal, those fees are immediately due and payable. If filing
fees remain unpaid and the debtor files a new case, an application to pay the filing fee in installments in the new
case shall be denied.


       So ORDERED on 7/29/21 .




                                                                       /s/ Brian T. Fenimore
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                                                                        UNITED STATES BANKRUPTCY JUDGE
